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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

MAGNATECH, LLC
                                                       Case No. 3:16-cv-00048
                      Plaintiff,

              -against-

MAGNATECH INTERNATIONAL BV,

                           Defendant.                  January 12, 2016



                                        APPEARANCE

       Please enter my appearance as attorney for the plaintiff, Magnatech, LLC, in addition

to other appearances on its behalf, in the above-captioned matter.

       Dated at Hartford, Connecticut this 12th day of January 2016.


                                            Respectfully submitted,

                                            THE PLAINTIFF,
                                            MAGNATECH, LLC

                                            By:_/s/ Michael G. Chase
                                               Michael G. Chase
                                               Federal Bar No. ct28935
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                                               E-mail: mchase@goodwin.com
                                               Its Attorneys
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed electronically and served by mail

on anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to all

parties by operation of the court’s electronic filing system or by mail to anyone unable to

accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this

filing through the court’s CM/ECF System.


                                                    /s/ Michael G. Chase
                                                    Michael G. Chase (ct28935)
